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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, ET AL.,          )   CIVIL NO. 16-00347 JMS-RLP
                                     )
              Plaintiffs,            )   ORDER GRANTING (1) GAURINO
                                     )   DEFENDANTS’ MOTION TO COMPEL
        vs.                          )   DISCOVERY RESPONSES TO FIRST
                                     )   REQUEST FOR ANSWERS TO
  ABNER GAURINO, ET AL.,             )   INTERROGATORIES AND TO COMPEL
                                     )   PLAINTIFFS CRAIG B. STANLEY AND
              Defendants.            )   MILLICENT ANDRADE TO SUBMIT TO
                                     )   DEPOSITIONS UPON ORAL
                                     )   EXAMINATION AND SANCTIONS AND
                                     )   (2) DEFENDANT APT-320, LLC’S
                                     )   MOTION TO COMPEL DISCOVERY FROM
                                     )   PLAINTIFFS
                                     )

        ORDER GRANTING (1) GAURINO DEFENDANTS’ MOTION TO COMPEL
           DISCOVERY RESPONSES TO FIRST REQUEST FOR ANSWERS TO
      INTERROGATORIES AND TO COMPEL PLAINTIFFS CRAIG B. STANLEY
       AND MILLICENT ANDRADE TO SUBMIT TO DEPOSITIONS UPON ORAL
          EXAMINATION AND SANCTIONS AND (2) DEFENDANT APT-320,
             LLC’S MOTION TO COMPEL DISCOVERY FROM PLAINTIFFS

              Two discovery motions are before the Court: (1) the

  Gaurino Defendants’ Motion to Compel Discovery Responses to First

  Request for Answers to Interrogatories and to Compel Plaintiffs

  Craig B. Stanley and Millicent Andrade to Submit to Depositions

  upon Oral Examination and Sanctions, filed on June 30, 2017; and

  (2) Defendant APT-320, LLC’s Motion to Compel Discovery from

  Plaintiffs, filed on July 3, 2017 (collectively “Motions”).            ECF

  Nos. 68, 71.    Plaintiffs did not file an Opposition or other

  response to the Gaurino Defendants’ Motion.         Plaintiffs filed an

  Opposition to APT-320, LLC’s Motion stating that their delays

  were due to health issues and a deterioration of the attorney-

  client relationship with their prior counsel, and that they
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  intended to fully comply with the discovery requests and provide

  dates for their depositions.       See ECF No. 78.    Defendant APT-320

  LLC filed a Reply on July 27, 2017, stating that Plaintiffs had

  failed to respond to discovery or provide dates for their

  depositions.    See ECF No. 91.     Pursuant to Local Rule 7.2(d), the

  Court found this matter suitable for disposition without a

  hearing.   ECF No. 69.    After carefully reviewing the parties’

  submissions and the relevant legal authority, the Court GRANTS

  the Motions.

                                  BACKGROUND

             This action arises from a real estate transaction that

  purportedly transferred certain real property from Plaintiffs to

  Defendants in exchange for shares of stock.         See ECF No. 1.

  Plaintiffs allege various claims against Defendants related to

  this transaction including violations of the Securities Act of

  1933, fraud in the offer or sale of securities, fraud in

  connection with the purchase or sale of securities, fraudulent

  transfer, common law fraud, and constructive trust.          Id.

             The Gaurino Defendants’ Motion asks the Court to compel

  Plaintiffs Craig B. Stanley and Millicent Andrade to respond to

  the Gaurino Defendant’s First Requests for Responses to

  Interrogatories, served in February 2017, and to provide dates

  for their depositions, which the Gaurino Defendants have been

  attempting to schedule since February 2017.         See ECF Nos. 68, 68-


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  5.    Defendant APT-320 LLC’s Motion asks the Court to compel

  Plaintiffs to provide written responses and documents in response

  to APT-320 LLC’s First Request for Production of Documents and to

  compel Plaintiff Stanley and Plaintiff Andrade to appear for

  their depositions no later than August 21, 2017.          ECF No. 71.

                                  DISCUSSION

              Federal Rule of Civil Procedure 26(b) provides that

  “[p]arties may obtain discovery regarding any nonprivileged

  matter that is relevant to any party’s claim or defense and

  proportional to the needs of the case.”        Fed. R. Civ. P.

  26(b)(1).    In determining whether the discovery is “proportional

  to the needs of the case,” the court should consider “the

  importance of the issues at stake in the action, the amount in

  controversy, the parties’ relative access to relevant

  information, the parties’ resources, the importance of the

  discovery in resolving the issues, and whether the burden or

  expense of the proposed discovery outweighs its likely benefit.”

  Id.    Pursuant to Rule 37, a party may move for an order

  compelling discovery if another party fails to respond.           Fed. R.

  Civ. P. 37(a)(3)(b).

              1.   Defendants’ Request to Compel Plaintiff to Respond

  to the Discovery Requests is GRANTED.

              There is no dispute that Plaintiffs failed to provide

  timely responses to the Gaurino Defendant’s First Requests for


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  Responses to Interrogatories and to Defendant APT-320 LLC’s First

  Request for Production of Documents (collectively, “Discovery

  Requests”).     Accordingly, the Court finds that Plaintiff has

  waived any objections to the Discovery Requests.          See Lofton v.

  Verizon Wireless (VAW) LLC, 308 F.R.D. 276, 281 (N.D. Cal. 2015)

  (“It is well established that all grounds for objections to

  discovery must be stated with specificity in the initial response

  or the objection is waived.” (citation omitted)).          The Discovery

  Requests propounded by Defendants seek documents and information

  that are relevant to this action.        The Court GRANTS Defendants’

  request to compel Plaintiffs to provide full and complete

  responses to the Discovery Requests.        No later than August 21,

  2017, Plaintiffs Craig B. Stanley and Millicent Andrade shall

  serve full and complete responses to Defendants Abner Gaurino,

  Aurora Gaurino and Abigail Gaurino’s First Request for Responses

  to Interrogatories.     No later than August 21, 2017, Plaintiffs

  shall serve full and complete responses to and shall serve all

  documents responsive to Defendant APT-320 LLC’s First Request for

  Production of Documents.

             2.    Defendants’ Request to Compel Plaintiffs Craig B.

  Stanley and Millicent Andrade to Appear for their Depositions is

  GRANTED.

             There is no dispute that Plaintiffs Craig B. Stanley

  and Millicent Andrade have failed to provide dates for their


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  depositions despite Defendants’ numerous scheduling attempts and

  Plaintiffs’ indications that they would do so.          See ECF Nos. 78-

  1, 78-2.   Defendants’ request to compel Plaintiffs Craig B.

  Stanley and Millicent Andrade to appear for their deposition is

  GRANTED.   No later than August 31, 2017, Plaintiffs Craig B.

  Stanley and Millicent Andrade shall appear for their depositions

  at a date, time, and location noticed by Defendants’ counsel.

             3.   Defendants Are Awarded Their Reasonable Expenses

  Incurred in Making the Present Motions.

             If a motion to compel is granted, the Court must

  require the party whose conduct necessitated the motion or the

  attorney advising that conduct, or both, to pay the moving

  party’s reasonable expenses incurred in making the motion unless

  the response was substantially justified or other circumstances

  make an award of expenses unjust.        See Fed. R. Civ. P. 37(a)(5).

             First, because Plaintiffs did not file an opposition or

  other response to the Gaurino Defendants’ Motion, there is no

  indication in the record that Plaintiffs’ failure to respond to

  the Gaurino Defendant’s Interrogatories or failure to provide

  deposition dates was substantially justified.         As noted above,

  the Gaurino Defendants served their Interrogatories in February

  2017, and have been working with Plaintiffs to attempt to

  schedule their depositions since that same time.          The record

  indicates that the Gaurino Defendants granted Plaintiffs several


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  extensions of time, but Plaintiffs failed to respond.

  Accordingly, the Court finds that Plaintiffs’ failure to provide

  discovery to the Gaurino Defendants was not substantially

  justified and no other circumstances make an award of expenses

  unjust.   No later than August 31, 2017, Plaintiffs shall pay

  $500.00 to the Gaurino Defendants for the reasonable expenses

  incurred in bringing the present Motion.

             Second, although Plaintiffs filed an Opposition to

  Defendant APT-320 LLC’s Motion, Plaintiffs failed to serve

  responses, produce documents, or provide dates for their

  depositions despite their representations to the contrary.             See

  ECF No. 78, 91.    Although the Court is sympathetic to Plaintiffs’

  health issues, Plaintiffs have had ample time to respond to

  discovery and to work with their new counsel to comply with

  outstanding requests, but have failed to do so.          Accordingly, the

  Court finds that Plaintiffs’ failure to provide discovery to

  Defendant APT-320 LLC was not substantially justified and no

  other circumstances make an award of expenses unjust.             No later

  than August 31, 2017, Plaintiffs shall pay $500.00 to Defendant

  APT-320 LLC for the reasonable expenses incurred in bringing the

  present Motion.

                                  CONCLUSION

             In accordance with the foregoing, the Court GRANTS (1)

  the Gaurino Defendants’ Motion to Compel Discovery Responses to


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  First Request for Answers to Interrogatories and to Compel

  Plaintiffs Craig B. Stanley and Millicent Andrade to Submit to

  Depositions upon Oral Examination and Sanctions, filed on June

  30, 2017; and (2) Defendant APT-320, LLC’s Motion to Compel

  Discovery from Plaintiffs as follows:

             1.   No later than August 21, 2017, Plaintiffs Craig B.

  Stanley and Millicent Andrade shall serve full and complete

  responses to Defendants Abner Gaurino, Aurora Gaurino and Abigail

  Gaurinos’ First Request for Responses to Interrogatories.

             2.   No later than August 21, 2017, Plaintiffs shall

  serve full and complete written responses and all documents

  responsive to Defendant APT-320 LLC’s First Request for

  Production of Documents.

             3.   No later than August 31, 2017, Plaintiffs Craig B.

  Stanley and Millicent Andrade shall appear for their depositions

  at a date, time, and location noticed by Defendants’ counsel.

             4.   The Court AWARDS reasonable expenses to Defendants

  related to bringing the present Motions.         No later than August

  31, 2017, Plaintiffs Craig B. Stanley and Millicent Andrade shall

  pay $500.00 to the Gaurino Defendants.        No later than August 31,

  2017, Plaintiffs shall pay $500.00 to Defendant APT-320 LLC.

             IT IS SO ORDERED.




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             DATED AT HONOLULU, HAWAII, AUGUST 8, 2017.




                                     _____________________________
                                     Richard L. Puglisi
                                     United States Magistrate Judge

  ATOOI ALOHA, LLC V. GAURINO., ET AL.; CIVIL NO. 16-00347 JMS-RLP;
  ORDER GRANTING (1) GAURINO DEFENDANTS’ MOTION TO COMPEL DISCOVERY
  RESPONSES TO FIRST REQUEST FOR ANSWERS TO INTERROGATORIES AND TO
  COMPEL PLAINTIFFS CRAIG B. STANLEY AND MILLICENT ANDRADE TO SUBMIT TO
  DEPOSITIONS UPON ORAL EXAMINATION AND SANCTIONS AND (2) DEFENDANT
  APT-320, LLC’S MOTION TO COMPEL DISCOVERY FROM PLAINTIFFS




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